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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              NORTHERN DIVISION


MISSISSIPPI STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE;
DR. ANDREA WESLEY; DR. JOSEPH
WESLEY; ROBERT EVANS; GARY
FREDERICKS; PAMELA HAMNER;
BARBARA FINN; OTHO BARNES;
SHIRLINDA ROBERTSON; SANDRA SMITH;
DEBORAH HULITT; RODESTA TUMBLIN;
DR. KIA JONES; ANGELA GRAYSON; MARCELEAN
ARRINGTON; VICTORIA ROBERTSON,                                                  PLAINTIFFS

VS.                                        CIVIL ACTION NO. 3:22-cv-734-DPJ-HSO-LHS

STATE BOARD OF ELECTION
COMMISSIONERS; TATE REEVES, in his
official capacity as Governor of Mississippi;
LYNN FITCH, in her official capacity as
Attorney General of Mississippi; MICHAEL
WATSON, in his official capacity as Secretary
of State of Mississippi,                                                     DEFENDANTS

AND

MISSISSIPPI REPUBLICAN
EXECUTIVE COMMITTEE                                           INTERVENOR-DEFENDANT


       DEFENDANTS’ MOTION TO COMPEL COMPLIANCE WITH SUBPOENAS


        Defendants State Board of Election Commissioners, Governor Tate Reeves, Attorney

General Lynn Fitch, and Secretary of State Michael Watson (collectively, “Defendants”)

respectfully move this Court for an order compelling Peyton Strategies, LLC, Senator Derrick T.

Simmons and Representative Robert L. Johnson III (collectively, the “Subpoenaed Non-Parties”)




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to comply with non-party subpoenas issued pursuant to Federal Rule of Civil Procedure 45 (the

“Subpoena” or “Subpoenas”). In support of this motion, the Defendants would show as follows:

       1.      This case was brought by the Mississippi Conference of the NAACP and individual

Plaintiffs alleging that the 2022 Maps violate both the Fourteenth Amendment of the U.S.

Constitution and the Voting Rights Act. See Amended Complaint [Dkt. # 27]. As part of their

defense, the Defendants issued and served certain Subpoenas on the Subpoenaed Non-Parties

seeking document and communications related to their role or participation in the 2022 Legislative

Redistricting Process, including the alternative maps presented by Senator Simmons and

Representative Johnson during the floor debates preceding adoption. The requests are reasonable

and proportional to the needs of the case.

       2.      On August 1, 2023, Defendants issued a Subpoena to Peyton Strategies, LLC c/o

Charles Taylor, Principal seeking relevant documents. [Dkt # 63]. Mr. Taylor was served on

August 11, 2023, and the Subpoena listed August 21, 2023 as the date of compliance. Id. The

subpoena to Peyton Strategies seeks documents and communications between Peyton Strategies

and Plaintiffs or any member of the Mississippi Legislature related to the 2022 Legislative

Redistricting Process. On information and belief, Peyton Strategies assisted Senator Simmons in

drawing and/or preparing the alternative map presented by Senator Simmons on the floor of the

Senate on March 27, 2022. The deadline for Peyton Strategies to respond or object was no later

than August 21, 2023. To date, Peyton Strategies has ignored the Subpoena, thereby failing to

respond, object or produce the requested records.

       3.      On August 30, 2023, Defendants issued a Subpoena to Senator Derrick T.

Simmons, in his official capacity as a member of the Mississippi State Senate, District 12 seeking

relevant documents. [Dkt. # 74]. The Subpoena to Senator Simmons seeks documents and



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communications with the Plaintiffs and all other third parties regarding the 2022 Legislative

Redistricting Process, including the alternative map presented by Senator Simmons on the floor of

the Senate on March 27, 2022. Senator Simmons was served on August 31, 2023, and the

Subpoena listed September 13, 2023 as the date of compliance. Id. The deadline for Senator

Simmons to respond or object was no later than September 13, 2023. To date, Senator Simmons

has ignored the Subpoena, thereby failing to respond, object or produce the requested records.

       4.      On September 12, 2023, Defendants issued a Subpoena to Representative Robert

L. Johnson III, in his official capacity as a member of the Mississippi House of Representatives,

District 94 seeking relevant documents. [Dkt. # 76]. The Subpoena to Representative Johnson

seeks documents and communications with the Plaintiffs and all other third parties regarding the

2022 Legislative Redistricting Process, including the alternative map presented by Representative

Johnson on the floor of the House of Representatives on March 27, 2022. Representative Johnson

was served on September 12, 2023, and the Subpoena listed September 26, 2023 as the date of

compliance. Id. The deadline for Representative Johnson to respond or object was no later than

September 26, 2023. To date, Representative Johnson has ignored the Subpoena, thereby failing

to respond, object or produce the requested records.

       5.      Counsel for the Defendants were previously advised by counsel for the Plaintiffs

that they do not represent Senator Simmons or Representative Johnson.             Counsel for the

Defendants attempted to confer with counsel for Plaintiffs to confirm that they also do not

represent Peyton Strategies. See 10/04/23 E-mail from Beckett to Tom, Ex. A hereto. As of the

time of this filing, counsel for Plaintiffs has not responded. No other lawyer has contacted counsel

for Defendants to advise that they represent the Subpoenaed Non-Parties. Thus, to the extent




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counsel for the Defendants have any obligation to “meet and confer” with non-Parties, counsel for

the Defendants have no one with whom to “meet and confer” in this instance.

       6.      Here, the Subpoenaed Non-Parties have neither responded and produced

documents nor responded to raise objections. They have simply ignored the Subpoenas altogether.

Any objections that could have been asserted by the Subpoenaed Non-Parties have therefore been

waived by each of them. Likewise, the Subpoenaed Non-Parties have not raised any claims of

privilege. The time for doing so has passed.

       7.      Defendants hereby incorporate in further support of this Motion their

accompanying Memorandum of Authorities and the following exhibit:

               Exhibit A – 10/4/23 E-mail from Beckett to Tom.

       WHEREFORE, PREMISES CONSIDERED, Defendants respectfully request the Court

grant this Motion and order the Subpoenaed Non-Parties to comply with Defendants’ Subpoenas

within 10 days of entry of the Court’s order. Defendants seek all such other, further and additional

relief as to which they may be entitled.




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      THIS the 6th day of October, 2023.

                                           Respectfully submitted,

                                           STATE BOARD OF ELECTION
                                           COMMISSIONERS; TATE REEVES, IN HIS
                                           OFFICIAL CAPACITY AS GOVERNOR OF
                                           MISSISSIPPI; LYNN FITCH, IN HER OFFICIAL
                                           CAPACITY AS ATTORNEY GENERAL OF
                                           MISSISSIPPI; MICHAEL WATSON, IN HIS
                                           OFFICIAL CAPACITY AS SECRETARY OF
                                           STATE, DEFENDANTS

                                       By: /s/ P. Ryan Beckett
                                           P. Ryan Beckett (MB #99524)

                                           ONE OF THEIR COUNSEL
OF COUNSEL:
Tommie S. Cardin (MB #5863)
P. Ryan Beckett (MB #99524)
B. Parker Berry (MB #104251)
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                                 CERTIFICATE OF SERVICE
        I, P. Ryan Beckett, attorney for the Legislative Subpoena Recipients, hereby certify that I

have on this date served the above and foregoing on all counsel of record via electronic mail.

        I further certify that I served the above and foregoing via U.S. Mail on the following:

        Peyton Strategies, LLC
        c/o Charles Taylor, Principal
        1420 School Park St.
        Jackson, MS 39213

        Senator Derrick T. Simmons
        Simmons & Simmons, PLLC
        207 Main Street
        Greenville, MS 38701

        Representative Robert L. Johnson, III
        P.O. Box 1678
        Natchez, MS 39121

        This the 6th day of October, 2023.

                                              /s/ P. Ryan Beckett
                                              P. Ryan Beckett




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